Case 1:05-cv-OlO79-.]DT-STA Document 20 Filed 08/22/05 Page 1 of 3 Page|D 16

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

DWIGHT B. WALKER, personal
representation of the Estate of
WILLIE MAE WALKER,

 

Plaintiff,

vs. NO. l:Od-CV*Ol342-T/TA
GREYHOUND BUS LINES, TRANS USA
CORPORATION, ROXANN ELLENS,
THERESA BROWN, DIANA GONZALEZ,
` DEBORAH TAYLOR, WARREENA
HENDERSON, RAYMOND WELLS,
and/or CONNIE VANDVINE,

Defendants.

 

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ANNA M. HILL, Individually and as )
Personal Representative cf the )
EState Of CHARLOTTE THOMPSON, )
Deceased, JAMES THOMPSON, JULIA T. )
HARMON, CLAUDIA THOMPSON, SHIRLEY )
THOMPSON, CHARLENE THOMPSON, PAMELA )
THOMPSON, LYDELL THOMPSON, LORINE )
AUSTIN, FRANCES DAVIDSON, LARRY )
THOMPSON, CLIFTON THOMPSON, PAULINE ) Case NO. 1-05-1163 T/AN
THOMPSON and ROBERT C. PURVIS, )
) 'JUDGE TODD / ANDERSON
Plaintiffs, )
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vs.
GREYHOUND LINES, INC., a Delaware
corporation, ARC INTERNATIONAL
CORPORATION dba TRANS USA,CORPORATION
and ALEX YU CHANG,

Defendants.

 

TERESA SMITH,
Plaintiff,
vS. NO. 05-1079-T/AN

GREYHOUND LINES, INC., a
Delaware Corporaticn,

Defendant$.

 

This document entered on the docket sheet ln compliance

with nule 53 and,-'qr_?s (a) FHCP on 155-§§ - Qf - l

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DOROTHY A. STEELE,

Plaintiff,

=:

vs. No. C”Ol-05-2480 T/An
ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent Greyhound
Lines, Inc., and GREYHOUND
LINES, INC., and ALEX YU CHANG,
as Employee/Agent of COASTAL
GROUP CORPORATION and TRANS
USA CORPORATION,

~_-._»~._,~_.,~_,~._»~_/-__»~.._»-._/VV~_,` ~._¢~_,

Defendants.

ORDER ON JOINT MOTION TO CONSOLIDATE
CASES FOR ALL PURPOSES OF PRETRIAL PROCEEDINGS

 

Upon the Joint and unopposed Motion of the parties, and for good
Canse shown, it is hereby Ordered that all pretrial proceedings in
these cases shall be consolidated, with the details and scheduling of
these pretrial proceedings to be determined by a Joint Schedulinq
Order to be entered at the Case Management Conference.

so ORDERED this ~?Q*dday of August, 2005.

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JUDGE

F: \GREYHOUND\CONSOLI DAT I ON ORDER

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 1:05-CV-01079 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

